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                         EXHIBIT B
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            8:45                                                                                                  5G8


     Home feature, school, location
                                                                       SHOWCASE

                                        +.425K                                                                      3D TOUR
                        -.3D TOUR 3D TOUR                                                                         790K
                                                                                                      TOUR
                                  1.05M
                        ll      SHOWCASE                                           850K
                    , 720K)                                                  • GEM=
                  1.5M TOUR                                                   750K
                                                              TOUR

                                  CE 1.7M                                                                            SHOWCASE
                               1.05M
                             945j                                                                   M2 ED
                                                 .7    UR                                          1.6M
                  950K
              R. TOUR

 1,       1.35M    35K                                                                                                     3D TOUR 2.
              76,                                                        1.3M
                       1.95M
                                                                                               1.1, Washington
                                                                  K 11.          SHOWCASE SHOWCASE
   QED,                           3D TOUR                                                                    Or. - 3D TOUR
3.5M p                                                                       1.5M                            5,, 4.25M
                               2.1 1.54M
    3.5M

                                                        .SHOWCASE
                                                        914K
                                            225K                                   M2.2
                                                                                                                 SO TOUR
                                             1.3M
                                                                                                             6
                                                                     250K                                                    Lake
                                                              .                      C1=3notgnihsaW.
e Ferry                      —yaB                            ea                     299K
                                                                                                                 •
                                                                                                             04
                                                                                          "D         TOUR

                                                                                          795K
                             1.5M
 1.5M
                         QED
        - 3D TOUR   3D TOUR,
      425KK589    985K


                                         TOUR

                                    5K




M'                           • '-,7.71                       1                                 C, Save Search
                                                                                          SHOWCASE




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